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                                                                                       FILED
                                UNITED STATES DISTRICT COURT
                                                                                     FEB ..:1 20'7.
                                EASTERN DISTRICT OF MISSOURI
                                      EASTERN DNI~ION.                              · US OISWIG1 COURT
                                                                                   EASiERN DISTRICT OF MO   .
                                                                                          ST.LOUIS
UNITED STATES OF AMERICA,                              )
                                                       )
          Plaintiff,
                                                        )~--------------------.,
                                                       ),
v.
                                                       ~: 4:17CR052 HEA/JMB
MATTHEW BURKETT,                                       )
                                                       )
          Defendant                                    )

                                            INDICTMENT

                                               COUNT I

          The Grand Jury charges that:

BACKGROUND

          At all times relevant to this Indictment:

          1.      Predator Tactic~l, tLC (Predator) was a business involved in the manufacturing

of custom and high-end firearms. It was registered by Matthew Burkett (BURKETT) in March

2010 and operated out of a location in Tempe, Arizona. BURKETT was the president and

majority owner of the company.

          2.      Predator sought business across the United States and overseas by advertising on

the internet, in trade specific publications, and by attend~g various gun shows across the United

States.

THE SCHEME

          3.      Beginning no later than April 2012 and continuing untff the present, in the Eastern

District of Missouri, and elsewhere,

                                      MATTHEW BURKETT,
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the Defendant herein:, did knowingly devise and execute a scheme to defraud and to obtain /

moneys and funds by means of materially false and fraudulent pretenses, representations, and

promises.

               a.      It was part of the scheme that Predator, and BURKETT in particular,

represented through advertising and directly to potential customers that Predator would complete
     ·-
manufacturing o~ firearms within 90 days of order and payment.

               b.      It was part of the scheme that BURKETT would require full payment from

the customer at the time of order.

               c.      It was part of the scheme that BURKETT would misappropriate customer

payments for his personal benefit without attempting to fulfill the customer's order.

               d.      It was part of the scheme that when customers complained about not

receiving firearms for which they paid, BURKETT would falsely promise that manufacture of

the firearms would soon be completed.

               e.     It was part of the scheme that BURKETT would seek cash infusions to aid

Predator through loans or investors, with false promises of repayment or profit.

               f.     It was part of the scheme that ·BURKETT would use the loans or

investments for personal use rather than for the intended purpose of investment in Predator.

EXECUTION OF THE SCHEME

          4.   On or about April 13 through 15, 2012, BURKETT, representing Predator

Tactical, attended the NRA gun show in St. Louis, Missouri. At the show, BURKETT

advertised and marketed Predator Tactical to the show attendees, including J.L. and P.S.




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        5.     J.L.

               a.         On or about February 12, 2013, and based in part on the representations

BURKETT made at the gun show, J.L. ordered and paid a $1,000 deposit on a Predator Tactical·

"night shrike".pistol. J.L. paid for the pistol by credit card. BURKETT represented that it would

take 6 months to have the pistol delivered to J.L._

               b.         On or about February 15, 2013, J.L. paid the remaining balance of

$2,576.99 on the pistol by credit card.

               c.         After receiving J.L.'s payment, BURKETT utilized the funds to make

personal expenditures and deposited the remainder into a personal account. None of J .L.' s

payment went into a business account.

               d.         On or about May 3 through 5, 2013, J.L. met with BURKETT in Houston,

Texas. BURKETT falsely told J.L. that manufacturing of J.L. 's pistol was nearly complete and

that J.L. would receive his pistol in a couple of weeks, when in fact no work had even begun on

the pistol.

               e.         On or about May 12, 2014, J.L., through an attorney, mailed BURKETT a

demand for the ordered pistol, or a full refund; or exchange for another product. BURKETT, in
                      '                                                       '
response to the above letter, telephoned J.L. and falsely promised that Predator Tactical would

deliver the "night shrike" pistol in a couple of weeks. However, BURKETT didn't initiate

manufacture, and J.L. didn't receive his pistol until after BURKETT became aware that he was

being investigated by law enforcement.




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'
              6.      P.S.

                      a.      On or about July 11, 2012, and based in part on the representations

      BURKETT made at the St. Louis gun show, P.S. ordered and paid a $21,653 deposit on five

      1911-style pistols. P.S. paid by check which he mailed from St. Louis to BURKETT in Arizona.

                      b.      On or about July 13, 2012, P.S. mailed a check from St. Louis to

      BURKETT in Arizona for the remaining balance of $11,488 on the 1911-style pistols.

                      c.      On or about July 21, 2012, BURKETT met with P.S. in St. Louis,

      Missouri.

                      d.      On or about July 25, 2012, BURKETT and P.S. 's company entered into an

      agreement by which P.S.'s company (Company A) would advance'$50,000 to Predator as a

      deposit for future purchases or, alternatively, as an irivestment option toward purchasing Predator

      stock at P.S.'s sole discretion.

                      e.      On or about July 25, 2012, P.S. caused his bank to wire $50,000 on July

      26, 2012 from Coinpany A's account in St. Louis to Predator's bank account in Arizona.

                     f.       On or about December 4, 2012, having decided not to exercise his option

      to purchase Predator stock, P.S. ordered a list of firearms purchased by the $50,000 deposit. The

      firearms were to be delivered at a rate of one per month with the frrst weapon delivered by

      February 28, 2013. However, BURKETT has not delivered any of the firearms he promised to

      P.S.

      THE CHARGE

             7.      On or about July 26, 2012, in the Eastern District of Missouri,

                                          MATTHEW BURKETT,




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the Deferidant herein, having devised and intending to devise a scheme and artifice to defraud,

and obtain rp.oney and property by means of material and false and fraudulent pretenses,

representations, and promises, and for the purpose of executing the scheme to defraud did cause

P.S. and PNC Bank in St. Louis, Missouri to transmit by means of wire in interstate commerce,

writings, signs, signals, and pictures to Wells Fargo in Arizona, to wit: _the wire transfer of

$50,000.

       In violation of Title 18, United States Code, Section 1343.

                                                      A TRUE BILL.




                                                      FOREPERSON

RICHARD G. CALLAHAN
United States Attorney



JOHN J. WARE, #40880MO
Assistant United States Attorney




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